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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


      UNITED STATES OF AMERICA,                        )
                                                       )
                           Plaintiff,                  )
                                                       )
                    v.                                 )
                                                       )      Case No. 10-20024-JWL
      ADRIAN MATA RODRIGUEZ,                           )               12-02245-JWL
                                                       )
                           Defendant.                  )
                                                       )
                                                       )



                           MEMORANDUM AND ORDER

      Adrian Mata Rodriguez was convicted following a jury trial of distribution of 5

grams or more of methamphetamine; possession with intent to distribute 50 grams or

more of methamphetamine; managing or controlling a drug involved premises for the

purpose of storing, using, and distributing methamphetamine; being an alien in

possession of a firearm; and illegal reentry into the United States (doc. 65).        The

defendant received a sentence of 188-months imprisonment (doc. 89).            Mr. Mata

Rodriguez filed a direct appeal challenging the sufficiency of the evidence to sustain his

convictions for maintaining drug involved premises, possessing methamphetamine with

intent to distribute, and being an alien in possession of a firearm. The Tenth Circuit

affirmed the defendant’s convictions. United States v. Mata Rodriguez, No. 10-3272,

2011 WL 5009858 (10th Cir. Oct. 21, 2011). Mr. Mata Rodriguez then filed a motion

under 18 U.S.C. § 2241 (Case No. 11-03157, doc. 1). District Court Judge Richard
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Rogers dismissed the petition without prejudice for lack of jurisdiction (doc. 2). The

defendant appealed the District Court’s decision, and the Tenth Circuit affirmed. Mata

Rodriguez v. United States, No. 11-3297, 2011 WL 6739428 (10th Cir. Dec. 23, 2011).

       Mr. Mata Rodriguez is again before this court on a motion to vacate filed pursuant

to 28 U.S.C. § 2255 (doc. 110). For the reasons set forth below, this motion is construed

as a motion seeking modification of an imposed term of imprisonment pursuant to 18

U.S.C. § 3582, and this motion is dismissed for lack of jurisdiction.

1. Relief Sought under 18 U.S.C. § 3582

       As a preliminary matter, the court declines to construe Mr. Mata Rodriguez’s

motion under 28 U.S.C. § 2255. A “§ 2255 petition attacks the legality of detention,”

rather than the execution of a sentence. Caravalho v. Pugh, 177 F.3d 1177, 1178 (10th

Cir. 1999) (citation omitted). Although the defendant labeled his motion as seeking relief

pursuant to § 2255, the content of the defendant’s motion does not challenge the legality

of his detention. Instead, Mr. Mata Rodriguez seeks a sentence reduction under the Fair

Sentencing Act of 2010 (FSA). As such, the defendant’s motion is construed as seeking

modification of an imposed term of imprisonment under 18 U.S.C. § 3582. See Castro v.

United States, 540 U.S. 375, 381-82 (2003) (“Federal courts sometimes will ignore the

legal label that a pro se litigant attaches to a motion and recharacterize the motion in

order to place it within a different legal category. . . . They may do so in order to avoid an

unnecessary dismissal, . . . to avoid inappropriately stringent application of formal

labeling requirements, . . . or to create a better correspondence between the substance of a

pro se motion’s claim and its underlying legal basis.”); see also United States v.

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Henriquez-Serrano, No. 09-3003, 2009 WL 1228248, at *1 (10th Cir. May 6, 2009)

(construing pro se motion labeled at § 2255 petition as a motion to reduce sentence under

§ 3582).

2. Ineligible for § 3582 Relief

       Mr. Mata Rodriguez seeks § 3582 relief based on the Fair Sentencing Act of 2010

(FSA). He contends that the FSA reduces the sentence for defendant’s convicted of drug

crimes based on quantities of methamphetamine. The defendant further asserts that under

the FSA, his case is a misdemeanor, or, alternatively, “at worst case scenario” yields a

base offense level of 20 (doc. 110, at 9).

       Section 3582 allows a court to modify a sentence “in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . consistent with the

applicable policy statement issued by the Sentencing Commission.”           18 U.S.C. §

3582(c)(2). The policy statement to which § 3582(c)(2) refers is § 1B1.10 of the United

States Sentencing Guidelines.      Section 1B1.10 allows a court to reduce a term of

imprisonment under § 3582(c) provided that the guideline range applicable to the

defendant was subsequently lowered by one of the specific amendments to the Guidelines

listed in § 1B1.10(c). U.S.S.G. § 1B1.10(a)(1). Section 1B1.10(a)(2) provides that a

reduction is not authorized if the retroactive amendments do not apply to the defendant or

do not have the effect of lowering the applicable guideline range.

       In 2010, Congress passed the Fair Sentencing Act, Pub. L. No. 11–120, 124 Stat.

2372 (2010), amending various United States Code provisions with respect to crack

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cocaine violations, which, in effect, raised the quantities of cocaine base required to

trigger various statutory mandatory minimum sentences from a 100:1 to an 18:1 “crack-

to-powder” ratio. The statutory provisions of the FSA, including the increase in the

threshold quantity of crack cocaine required to trigger a mandatory minimum sentence,

were not made retroactive. United States v. Lewis, 625 F.3d 1224, 1228 (10th Cir. 2010).

The FSA directed the Sentencing Commission to amend the Sentencing Guidelines to

conform with the new law within 90 days of the FSA’s enactment. In response, the

Sentencing Commission issued amended Guidelines to reflect the FSA’s new crack-to-

powder ratio. U.S.S.G. App. C, Amend. 750 (2011). The Commission subsequently

ordered that this Amendment, unlike the FSA, become retroactively effective on

November 1, 2011.

      At sentencing, the court determined Mr. Mata Rodriguez’s base offense level

based on quantities of methamphetamine—not cocaine base. The FSA and U.S.S.G.

Amendment 750 impact offenses involving cocaine base, not offenses involving

methamphetamine or other controlled substances. As a result, the FSA and Amendment

750 do not have the effect of lowering the defendant’s applicable guideline range. Thus,

a reduction in the defendant’s term of imprisonment is not consistent with the policy

statement in § 1B1.10 and therefore is not authorized under 18 U.S.C. § 3582(c)(1)

      As the facts establish that Mr. Mata-Rodriguez’s sentence is not based on a

guideline range that has subsequently been lowered by the Sentencing Commission, the

court is without jurisdiction to consider a reduction of sentence under § 3582(c)(2).

United States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir. 2007) (Where the amendment

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did not subsequently lower the defendant’s Guideline range, the district court has no

jurisdiction to consider a modification to his sentence under 18 U.S.C. § 3582(c)(2)).




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion to

vacate sentence pursuant to 28 U.S.C. § 2255 (doc. 110) is construed as a motion seeking

modification of an imposed term of imprisonment under 18 U.S.C. § 3582. This motion

is dismissed for lack of jurisdiction.



       IT IS SO ORDERED this 19th day of July, 2012.



                                    s/ John W. Lungstrum
                                    John W. Lungstrum
                                    United States District Judge




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